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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA

             v.                                            Case No. 20-mj-78

DEVONERE JOHNSON,

                            Defendant.


                          COMPLAINT FOR VIOLATION OF
                   TITLE 18, UNITED STATES CODE, SECTION 1951


BEFORE United States Magistrate Judge                  United States District Court
Stephen L. Crocker                                     120 North Henry Street
                                                       Madison, Wisconsin 53703

      The undersigned complainant being duly sworn states:

                                         COUNTl

      1.     At times material to this complaint, Business 1, Madison, Wisconsin, was a

business located in the Western District of Wisconsin, which engaged in interstate

commerce and obtained inventory and products originating outside the State of

Wisconsin.

      2.     On or about June 22 and June 23, 2020, in the Western District of

Wisconsin, the defendant,

                                   DEVONERE JOHNSON,

knowingly attempted to obstruct, delay, and affect interstate commerce and the

movement of articles and commodities in interstate commerce by extortion as that term

is defined in Title 18, United States Code, Section 1951, in that the defendant attempted
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to obtain money by consent induced by the wrongful use of threatened force, violence,

and fear, specifically, JOHNSON threatened that the windows of Business 1 would be

destroyed unless a person associated with this business made a payment to

JOHNSON's Venrno account.

                  (In violation of Title 18, United States Code, Section 1951).

                                         COUNT2

      1.     At times material to this complaint, Business 2, Madison, Wisconsin, was a

business located in the Western District of Wisconsin, which engaged in interstate

commerce and obtained inventory and products originating outside the State of

Wisconsin.

      2.     On or about June 22 and June 23, 2020, in the Western District of

Wisconsin, the defendant,

                                   DEVONERE JOHNSON,

with others, known and unknown, knowingly attempted to obstruct, delay, and affect

interstate commerce and the movement of articles and commodities in interstate

commerce by extortion as that term is defined in Title 18, United States Code, Section

1951, in that the defendant attempted to obtain property by consent induced by the

wrongful use of threatened force, violence, and fear, specifically, JOHNSON, with

others, threatened to shut down Business 2 and have rioters destroy and burn down the

business unless JOHNSON and his associates were provided free food and beverages.

               (In violation of Title 18, United States Code, Section 1951).

       This complaint is based on the attached affidavit of Beth Boxwell.

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                                        Special Agent Beth Boxwell
                                        Federal Bureau of Investigation
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Sworn to me telephonically this ?.,(,         day of June 2020



                                         HONORABL
                                         United States Magistrate Judge




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COUNTY OF DANE                     )
                                   ) ss
STATE OF WISCONSIN                 )

                                          AFFIDAVIT

        I, Beth Boxwell, first being duly sworn under oath, hereby depose and state as

follows:

           1. I am a Special Agent with the Federal Bureau of Investigation (FBI), and

have been employed by the FBI since 2004. I am currently assigned to the Milwaukee

Field Office, Madison Resident Agency. Since becoming a Special Agent, I received

specialized training in conducting criminal investigations, and my responsibilities

include conducting investigations of alleged criminal violations of federal statutes and

laws.

           2. The information contained in this affidavit is based upon information

provided to me by the assigned detectives and officers with the Madison Police

Department and my own investigation. I know these detectives to be reliable inasmuch

as the information they provide herein is the result of their official investigation into

this matter.

           3. The facts and information contained in this affidavit are based upon my

personal knowledge, information obtained from federal and state law enforcement

officers, and information obtained from interviews and analyses of reports. I believe

the several business owners who were interviewed because they are independently

corroborated by each other and by video and still images and because they have no

reason to fabricate. This affidavit is intended to show merely that there is sufficient



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probable cause for the requested warrant and does not set forth all of my knowledge

about this matter. Based on the information described below, I believe that there is now

probable cause that the defendant, DEVONERE JOHNSON, has violated Title 18,

United States Code, Section 1951.

                                    PROBABLE CAUSE

          4. I know that since approximately May 30, 2020, the downtown Capitol

Square and State Street areas in Madison have been the site of numerous protests. After

the peaceful protests, there were several days of civil unrest in the area during which

rioters engaged in property damage including graffiti, arson to a Madison Police

Department squad car, destruction of property, and breaking of dozens of windows of

local businesses. Many of the businesses boarded up their windows with plywood,

most of which remains in place due to the threat of additional unrest, riots, and

destruction of property. As detailed below, DEVONERE JOHNSON and others sought

to extort multiple downtown Madison business owners by exploiting the circumstances

involved with tl1e danger and destruction associated with the looting, vandalism, and

rioting that followed the peaceful protests. The several businesses below are not named

to avoid these businesses from being further victimized.

Business 1

          5. Business 1 is a bar and restaurant in downtown Madison, located in the

Western District of Wisconsin, which engaged in interstate commerce and obtained

inventory and products originating outside the State of Wisconsin. On this point,




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Detective Manny Gatdula spoke with the owner of Business 1 who told me that the

business purchases food, beverages, and supplies that are made outside of Wisconsin.

          6. On June 23, 2020, at approximately 6:00 p.m., Madison Police Detective

Manuel Gatdula spoke with the owner of Business 1 (Owner 1). Business 1 had recently

removed the protective plywood from its windows.

          7. Owner 1 said that on June 22, 2020, at around 3:00 p.m., he was working

in the basement of his bar and restaurant when one of his employees came down to say

that someone was inside of the business with a loud boom box causing a disturbance.

Owner 1 went up to the main floor and saw a person later identified as DEVONERE

JOHNSON. JOHNSON was with another man whose name is withheld pending

further investigation.

          8. Owner 1 said that JOHNSON had his feet on the table with a modern

looking boom box that was blasting music. Owner 1 asked JOHNSON to turn the

music down, but it was so loud he could not clearly hear what JOHNSON was saying.

At one point JOHNSON said "l can hear you." Owner 1 then sat down next to

JOHNSON to better communicate with him.

          9. Owner 1 tried to reason with JOHNSON to turn the music down. At one

point, Owner 1 told JOHNSON that he supports the cause and that he had donated

money to support the Black Lives Matter movement. JOHNSON responded by asking

Owner 1 "what have you done locally?" Owner 1 thought that JOHNSON was asking

for money. At that point, JOHNSON said "Give me money or we'll break windows."

JOHNSON then said, t!U"ough the loud music, "Venmo me money."


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         10. Owner 1 knows that Venmo is a smart phone application that allows

people to send each other money. JOHNSON took his phone out and told Owner 1 to

take a picture of the Venmo code on JOHNSON'S phone. Owner 1 saw what looked

like a bar code on JOHNSON'S phone and took a picture of it to pacify JOHNSON.

Owner 1 forwarded that photo to Detective Gatdula and I have pasted that image in

below. The photo shows a code that needs to be scanned to be activated. On the top it

says "Young Black Suited Yesh ... " and under that "BlackFamiliesMatter-Yeshua." I

know that JOHNSON also goes by the name Yeshua Musa.




          (Venmo code redacted.)

          11. JOHNSON then stood up and walked to the bar. The music was still very

loud and JOHNSON said "You are all KKK!" Owner 1 said that the other man was not

as loud as JOHNSON, but that the other man did say that if Owner 1 received a call

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from a 618 area code it would be the other man. Owner 1 believes this area code is from

Chicago and thought the statement was part of the intimidation. JOHNSON and the

other man then walked out of the business.

           12. Owner 1 said that he felt intimidated and extorted by the incident.

Owner 1 said that he knows what intimidation and extortion look and feel like. Owner

1 concluded that JOHNSON was hying to extort money from him. Owner 1 had heard

that there was going to be a block party in front of his business on Wednesday night,

June 24, 2020, and he was fearful that his business would be destroyed if he did not give

JOHNSON money. Owner 1 did not consent to what happened during the incident.

           13. Another employee (Employee 1) was present during this interaction and

could hear parts of this conversation. Employee 1 saw JOHNSON had his feet up on

the table and heard Owner 1 ask him to leave. Employee 1 heard JOHNSON tell Owner

1 "Venmo me money to my account." JOHNSON claimed to lead the group "Black

Men in Suits Yish." Employee 1 heard JOHNSON speak about a block party and also

that Owner 1 offered to provide food for that event. Employee 1 said "I think he

wanted to extort [Owner 1]."

           14. I know that Owner 1 did not make a payment to JOHNSON's Venmo

account.

           15. Owner 1 said that the next time that he saw JOHNSON was June 23, 2020.

Officer Tray Turner interviewed Owner 1 regarding what happened that day. Owner 1

said that at approximately 11:45 a.m. he was working in the basement of the restaurant

and was called upstairs. Once upstairs he saw JOHNSON with a bat and a megaphone.


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Owner 1 said that JOHNSON demanded money from his restaurant. Owner 1

explained that he had donated food and thousands of dollars to the protesters and still

had to explain to protesters that he did in fact support them.

          16. Detective Brad Ware interviewed Employee 1 about the incident on June

23, 2020. Employee 1 said that he had called the police. Employee 1 was in the kitchen

when another employee told him "the guy is back." Employee 1 said this was the same

person who was there the day before and who was previously identified as

DEVONERE JOHNSON.

          17. Employee 1 went outside of the restaurant and saw JOHNSON seated at

a table with two white males who JOHNSON did not appear to know. JOHNSON was

yelling through a megaphone and had a baseball bat. JOHNSON stood up and shouted

at Employee 1 with the megaphone less than a foot from Employee 1. Employee 1

described JOHNSON as "pretty loud" and said that he was "terrified." Employee 1

went inside of the restaurant and Owner 1 went outside to speak with JOHNSON.

Employee 1 said that they locked the door to keep JOHNSON out, but when they

unlocked it to let employees in, JOHNSON followed Owner 1 inside. Employee 1 said

that JOHNSON continued to yell and call people racists. JOHNSON still had the

baseball bat on his shoulder and also swung it in circles above his head. While

JOHNSON did not make any motions as if to strike anyone, Employee 1 described other

employees as upset and crying. Employee 1 said that he was terrified of JOHNSON

and also concerned that their business would be damaged by protesters.




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          18. Officer Casey Amoroso spoke with another employee (Employee 2) about

this incident. Employee 2 videotaped this disturbance. Employee 2 said that

JOHNSON was speaking through a megaphone while inside of the restaurant. When

JOHNSON went back outside to the patio area she stopped recording.

          19. Officer Amoroso and I have reviewed the video taken by Employee 2.

When JOHNSON entered the restaurant he was following a white male and said that he

"would not be here right now if this man wasn't a racist." While inside of the

restaurant JOHNSON said through the megaphone "I am disturbing the shit out of this

restaurant" and "I got a fucking bat."

          20. I know that multiple Madison police officers responded to this

disturbance. A video taken outside of the restaurant shows officers contacting

JOHNSON while he was holding the bat. JOHNSON resisted arrest, was taken into

custody, and placed in a squad car. JOHNSON escaped from the squad and attempted

to run away, resulting in officers pursuing him. JOHNSON was booked into jail on new

charges stemming from the incident and, because he was on probation, a Department of

Corrections hold was placed as a detainer.

Business 2

          21. Business 2, located in downtown Madison, is a bar and restaurant located

in the Western Dish·ict of Wisconsin, which engaged in interstate commerce and

obtained inventory and products originating outside the State of Wisconsin. On this

point, I spoke with the owner of Business 2 who told me that the business purchases

food, beverages, and supplies that are made outside of Wisconsin.


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          22. Business 2 had recently removed the protective plywood from its

windows facing State Street.

          23. Detective Gary Pihlaja reports that he spoke with the owners of Business

2, a male (Owner 2M) and female (Owner 2F).

          24. Owner 2F said tl1at on June 22, 2020 at approximately 3:00 p.m., two black

male subjects came into the restaurant. They were later identified as DEVONERE

JOHNSON and the other man who had accompanied JOHNSON into Business 1 on

June 22. JOHNSON had a boom box and was playing explicit music very loud. Owner

2F said that this was disruptive to the staff and patrons. Owner 2F approached

JOHNSON and the other man and politely asked them to turn their music down,

however they refused. JOHNSON put his feet up on the bar and said words to the

effect "I can do whatever I want, we got [Business 3] shut down and we'll do the same

to you." I know that Business 3 is a nearby bar also in this same downtown area which

had been the subject of recent attention by protesters. Owner 2F said that she felt

threatened and disturbed by JOHNSON'S words and behavior and that she

continuously asked JOHNSON and the other man to leave the bar. At one point,

Owner 2F said that the other man said ''I'll slap the shit out of you." The men said that

they were "cool" with Owner 2M. Owner 2F called the police who escorted JOHNSON

and the other man out of the bar.

          25. Owner 2M said that on June 23, 2020, at approximately 8:30 to 9:00 a.m.,

he was outside the front door when tl1e other man came up and started talking to him.

The other man said "I need to talk to you about yesterday." Owner 2M and the other


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man spoke briefly, eventually joined by Owner 2F. The other man commented to

Owner 2M "Where I come from, when women act like that, we beat them. That's what

we'll have to do with [Owner 2F]." The conversation ended with the other man saying

"We're going to get this place shut down" before leaving the bar.

          26. Owner 2M said that on June 23, 2020, at approximately 11:30 a.m., he was

sitting at a table inside of the bar when a person later identified as DEVONERE

JOHNSON came in and wanted to talk to him. JOHNSON had a megaphone with him

and was accompanied by the original other man and a third man. JOHNSON and the

other two men sat down at Owner 2M' s table. Owner 2M said that the three men

clearly knew each other and were working together based on their interactions and the

things they said. Owner 2M said that JOHNSON and the other man started talking

about their negative interactions at Business 2 the previous day. Owner 2M said that

the three men all told him that they wanted free food and beer "for their troubles."

Owner 2M said that he would be willing to serve them but that they would have to pay

for it and that he only accepted cash. The three males were insistent that Owner 2M

needed to give them free food and beer to make up for the trouble that his business

caused them.

          27. Owner 2M said that JOHNSON told him: "We can end this now and you

won't be marked like [Business 3] and forced to close. Just give us some free food and

beer and we can end this now. You don't want 600 people to come here and destroy

your business and burn it down. The cops are on our side. You notice that when you

call them, nothing happens to us." Owner 2M asked JOHNSON "So that's it, you just



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want some beer and food?" JOHNSON replied in the affirmative saying that he wanted

a burger and some chips. The owners provided food and beer to the men. Owner 2M

stated that he felt intimidated by JOHNSON'S threats and that is why he complied with

JOHNSON'S demands for free food and beer.

          28. Owner 2M said that during this incident the other man was holding a

black baseball bat with the words "Black Lives Matter" written down the length of it.

The other man would hold the baseball bat down by his side and swing it back and

forth like a pendulum. The other man said "We can end this today, just give us some

free food and beer." The other man would also stretch his arms and put the bat up on

his shoulder. The other man also threatened to "beat [Owner 2F" and "slap the shit out

of her." Owner 2M said that he felt threatened and intimidated by the way that the

other man would hold the bat and periodically show it off by putting it on his shoulder.

          29. Owner 2M said that the third man also said words to the effect of "Give

us free food and beer, it's a small price to pay." Owner 2F said that while she was

preparing food for the men, the third man told her "You know you're doing the right

thing giving them what they want."

          30. Owner 2M said that when he rang up the food and beer he showed the

three males that he pulled out his own wallet, took out money, and put it into the cash

register to cover the cost of the items. Owner 2M said that he felt compelled to do this

based on the intimidating and coercive words and actions of the three men. Owner 2M

said that he felt that if he did not appease these three men that they would come back

and hurt him and Owner 2F, or that they would damage the business by breaking the


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windows or setting it on fire. Owner 2M believed that these three men had the

capability to come back potentially with even more people to follow through on this

threat.

          31. Owner 2M saw JOHNSON'S picture after JOHNSON got arrested on the

Capitol square. Owner 2M was able to positively identify JOHNSON based on pictures

he saw on social media, and that this was the same person who had come in with the

boom box on June 22, 2020. Detective Pihlaja watched video surveillance footage from

Business 2 and was able to identify JOHNSON as the same person as who was arrested

later that morning from Business 1.




                                               Special Agent Beth Boxwell
                                               Federal Bureau of Investigation

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Honorable Stephen L. Crocker
United States Magistrate Judge




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